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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               v.                             )          Case No.       09-CR-043-SPF
                                              )
LINDSEY KENT SPRINGER,                        )
OSCAR AMOS STILLEY,                           )
                                              )
                      Defendants.             )


                    UNITED STATES’ MOTION TO QUASH SUBPOENAS

       The United States of America, by and through its attorneys, Thomas Scott Woodward,

Acting United States Attorney for the Northern District of Oklahoma, and Kenneth P. Snoke,

Assistant United States Attorney, and Charles A. O’Reilly, Special Assistant U.S. Attorney,

hereby respectfully moves this Court to enter an order quashing the subpoenas duces tecum for

testimony and documents issued by Defendant Lindsey K. Springer directing the individuals

identified hereafter to appear, produce documents and testify in the United States District Court

for the Northern District of Oklahoma on July 2, 2009 at 9:00 a.m. These individuals include:

Internal Revenue Service employees Kathy Beckner, Donna Meadors, Brian Shern, and Donald

Shoemake; United States Department of Justice employee Doug Horn; former Internal Revenue

Service employee William Taylor; and former Department of Justice employee Melody Nelson.

The proceeding currently scheduled for July 2, 2009 is for a hearing on the Defendant Springer’s

Motion on a Franks issue, Motion to Suppress, and Motion for Bill of Particulars. Also served

with subpoenas duces tecum were Eddy and Judith Patterson. Copies of the subpoenas duces

tecum and attachments are included as Exhibit A.
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       These subpoenas, issued without compliance with the Touhy regulations and in violation

of the Rules of Criminal Procedure, are a transparent attempt to waste the Government attorneys’

and agents’ time; the subpoenas are not issued in good faith.

       There are four independent bases to quash the subpoenas. First, the subpoenas served on

the employees of the United States (each individual except the Pattersons) must be quashed

because Defendant Springer did not comply with the procedures set forth pursuant to Title 5,

United States Code Section 301.1 Second, the subpoenas must be quashed because compliance is

both unreasonable and oppressive under Rule 17(c) of the Federal Rules of Criminal Procedure

since the subpoenas (1) do not request specific or relevant documents, and (2) the Government

has a strong interest in preserving the confidentiality of its investigative methodologies.

Moreover, the request is not made in good faith. Third, the documents sought pursuant to the

subpoenas appear to have already been turned over to the defense pursuant to the Government’s

discovery obligations. Finally, this request constitutes an attempt to circumvent the limitations

on disclosure established by Rule 16(a)(2) of the Federal Rules of Criminal Procedure and

Title 18, United States Code Section 3500 et seq. Accordingly, the United States respectfully

requests that this Court enter an order quashing the subpoenas duces tecum.

I.     BACKGROUND

       By order dated April 22, 2009, the Court ordered a hearing on July 2, 2009 at 9:00 a.m.2



       1
               The regulations enacted pursuant to 5 U.S.C. §301, generally termed Touhy
regulations, constitute an absolute condition precedent to compliance with subpoenas served on
employees of the United States.
       2
             The original date for the hearing was July 9. However, upon motion of the
Government, the date was moved to July 2, 2009. Doc. 49 and 50.

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on Motion for Franks issue and/or Suppress, if necessary. By order dated June 17, 2009, the

Court added consideration of Defendant Springer’s Motion for Bill of Particulars to the hearing.

       Defendant Springer served subpoenas duces tecum directing Special Agents Kathy

Beckner, Donna Meadors, Brian Shern and Donald Shoemake, former Assistant U.S. Attorney

Melody Nelson, Assistant U.S. Attorney Doug Horn and former Internal Revenue Service

Supervisory Special Agent William Taylor to testify and produce documents before the Court on

July 2, 2009. A copy of the subpoenas duces tecum, respectively, is attached as Exhibit A.

Defendant Springer served the Pattersons, Meadors, Shern, Shoemake, Beckner, and Nelson on

Thursday, June 25, one week prior to the date of the hearing. Assistant U.S. Attorney Horn was

served on the evening of Monday, June 29. The materials sought pursuant to the various

subpoenas appear to largely consist of the materials already provided to Defendants Springer and

Stilley in discovery as indicated in the attached discovery index. Exhibit B.

II.    LEGAL BACKGROUND

       1. Compliance with the Code of Federal Regulations.

       Titles 31 C.F.R §§ 1.8 et seq., 26 C.F.R. §§ 301.9000-1 et seq., and 28 C.F,R. §§ 16.21 et

seq. define the requirements that must be met before compliance with subpoena requests for

testimony or document production from employees of the Internal Revenue Service and the

Department of Justice. Title 31 C.F.R. § 1.11(c) and 26 C.F.R. § 9000-4 prohibit an Internal

Revenue Service employee to provide testimony or documents without the prior authorization of

the appropriate agency counsel. Similarly, 31 C.F.R. § 1.11(c) and 28 C.F.R. § 16.27 prohibit a

Department of Justice employee to provide testimony or documents without prior authorization.

       The party requesting the testimony or documents must comply with authorization


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procedures. See United States. v. Allen, 554 F.2d 398, 406 (10th Cir. 1977) (noting that the

defendant made no showing that a request for testimony had been made or approved and granting

Government’s motion to quash). The party requesting the testimony or documents must define

the scope of the request so the agency counsel can assess whether the disclosure is proper or

lawful. Id.

        Title 31 C.F.R. § 1.11(e) provides a nonexclusive list of factors to be considered by the

agency counsel, including burdensomeness of the demand, its relevance, reasonableness of its

scope, and the time or resources it would take to respond. Id. Ordinarily, compliance with a

subpoena is not authorized if the disclosure violates a statute, executive order or regulation, or if

the integrity of the Department’s internal processes is compromised. Id. When compliance with

subpoenas is not authorized, the employee is directed not to testify or provide documents.

Furthermore, 26 C.F.R. §§301.9000-1 et seq. prescribes additional procedures which must be

followed when subpoenaing an employee of the Internal Revenue Service. The legal tribunal

cannot hold in contempt a subordinate federal officer who refuses to testify or produce

information in response to a court order until compliance with subpoenas is authorized pursuant

to the agency regulations. See United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). See

also Kwan Fai Mak v. F.B.I., 252 F.3d 1089 (9th Cir. 2001) (stating that “in general, federal

officials could not be held in contempt for failing to disclose information demanded”).

       Moreover, an employee who testifies or produces documents without authorization is

“subject to administrative discipline, up to an including dismissal” and may incur criminal

liability. 26 C.F.R § 301.9000-4(h).

       Compliance with 31 C.F.R. §§ 1.8 et seq., 26 C.F.R. §§ 301.9000-1 et seq. and 28 C,F,R.


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§§ 16.21 et seq. constitutes an absolute condition precedent to compliance with the subpoenas

served on the employees of the Internal Revenue Service.

       2. Rule 17(c) Standard.

       A court can quash a subpoena if compliance with it is either unreasonable or oppressive.

Fed. R. Crim. P. 17(c). In United States v. Nixon, 418 U.S. 683, 699-700 (1974), the Supreme

Court adopted the formulation enunciated in United States v. Ioazia, 13 F.R.D. 335, 338 (SDNY

1952) as to the required showing under Rule 17(c). The party requesting production of

documents must show:

       1)      That the documents are evidentiary and relevant;

       2)      That they are not otherwise procurable reasonably in advance of trial by exercise
               of due diligence:

       3)      That the party cannot properly prepare for trial without such production and
               inspection in advance of trial and that the failure to obtain such inspection may
               tend unreasonably to delay the trial;

       4)      That the application is made in good faith and is not intended as a general “fishing
               expedition.”

Nixon, 418 U.S. at 700 (quoting Ioazia, 13 F.R.D. at 338).

       Based on this formulation, Nixon coined a three-prong test for determining whether a

subpoena is defensible under Rule 17(c): the subpoena must be (1) relevant, (2) admissible, and

(3) requested with adequate specificity. Id. at 700. All three prongs must be satisfied. See, e.g.,

United States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006).

       The Tenth Circuit has adopted the test set forth in Nixon. United States v. Winner,

641 F.2d 825, 833 (10th Cir. 1981); United States v. Abdush-Shakur, 465 F.3d at 458.

“[S]pecificity and relevance elements require more than the title of a document and conjecture to


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its contents.” United States v. Arditti, 955 F.2d 331, 346 (5th Cir. 1992). A defendant in Arditti

asserted that Internal Revenue Service documents that he subpoenaed were relevant “to his lack

of predisposition for his entrapment and outrageous-conduct defenses.” Arditti, 955 F.2d at 346.

The Fifth Circuit found that the defendant did not meet his burden of showing relevance and

specificity under Rule 17(c) since he did not set forth what the subpoenaed materials contain,

forcing the court to speculate as to the specific nature of their contents and its relevance. Id.

“Conclusory statements do not establish relevance.” United States v. Abdush-Shakur, 465 F.3D at

468.

       Even if relevance, admissibility and specificity were established, a court may nevertheless

quash a subpoena if (1) the burden of producing subpoenaed materials outweighs the relevance

of the requested materials or (2) interests of the party required to produce subpoenaed materials

prevail. See United States v. Hardy, 224 F.3d 752, 756 (8th Cir. 2000) (holding a subpoena to be

oppressive because it would require the police department to spend seventeen hours of listening

to the tapes to determine which communications were relevant to defendant’s case); United

States v. Under Seal, 478 F.3d 581, 587 (4th Cir. 2007) (upholding balancing of interests of the

parties where compliance with a subpoena by the city would compromise confidentiality of the

investigation).

       3. The relationship between Rules 16 and 17.

       Rule 16 does not authorize “the discovery or inspection of reports, memoranda, or other

internal government documents made by an attorney for the government or other government

agent in connection with investigating or prosecuting the case.” Fed. R. Crim. P. 16(a)(2). The

Supreme Court in Bowman Dairy Co. v. United States, 341 U.S. 214, 220-21 (1951), discussed


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the relationship between Rules 16 and 17, and warned that Rule 17 must be read in conjunction

with Rule 16:

       It was not intended by Rule 16 to give a limited right of discovery, and then by
       Rule 17 to give a right of discovery in the broadest terms. . . . Rule 17(c) was not
       intended to provide additional means of discovery. . . . it [the court] should be
       solicitous to protect against disclosures of the identity of informants, and the
       method, manner and circumstances of the Government’s acquisition of the
       materials.

Id.

       In Bowman, the subpoena explicitly excluded counsel memoranda, memoranda of

interviews, as well as any information obtained by seizure or process. Id. at 216. Nevertheless,

the Supreme Court characterized as “merely a fishing expedition to see what may turn up” and

struck down the part of the subpoena that required the Government to produce all materials

which were “relevant to the allegation or charges contained in said indictment, whether or not

they might constitute evidence with the respect to the guilt or innocence of any of the

defendants.” Id. at 221.

       The Tenth Circuit has cited with approval the Ninth Circuit case that warned that “Rule

17(c) subpoena is not intended as a discovery tool . . . or to allow a blind fishing expedition

seeking unknown evidence.” United States v. Morris, 28 F.3d 985, 991 (10th Cir. 2002), quoting

United States v. Reed, 726 F.2d 570, 577 (9th Cir. 1984).

III.   ARGUMENT

       A.       The Internal Revenue Service and Department of Justice cannot
                authorize the testimony and document production due to the breadth
                of the subpoenas and sensitivity of the requested materials.

       Defendant Springer failed to give the required notice under 31 C.F.R. § 1.11(e) and 26



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C.F.R. §§ 301.9000-4 precision and clarity to his request for the testimony of the Special Agents

and release of the documents. In addition, Defendant Springer requests the documents that

would reveal the investigative methodologies and law enforcement techniques of the Internal

Revenue Service. The disclosure of these documents will compromise the integrity of the

Department’s processes. See 31 C.F.R. § 1.11(e)(2)(ii). Defendant Springer neither defines the

scope of the testimony nor does he circumscribe his request for documents.

       Based on the breadth of the subpoenas and the sensitivity of the requested materials, the

Internal Revenue Service cannot authorize the testimony of Special Agents and production of the

documents. See 31 CFR §1.11(e) (defining factors considered by Department of Treasury

counsel in determining whether to give authorization for testimony and document production).

       B.      The subpoenas are an attempt to circumvent discovery limitations and
               compliance with the subpoenas is unreasonable and oppressive.

       Defendant Springer directs the Special Agents to an extremely broad spectrum of

documents, effectively requesting the vast production of thousands of documents generated over

the course of several years. In Reed, the Ninth Circuit denied defendant’s request for arson

investigation files, noting that no specific documents were requested in a subpoena. Reed, 726

F.2d at 577. Defendant Springer’s subpoenas are even broader in scope than the subpoena

rejected by the Supreme Court in Bowman, since Defendant Springer does not discriminate

between internal memoranda, witness interviews, etc. He demands everything, but does not

explain what exactly he is looking for. Defendant Springer’s subpoenas lack the requisite

specificity mandated under Abdush-Shakur (465 F.3d at 467) and Bowman.

        Defendant Springer forces this Court to speculate about the contents and the relevance of



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the materials he subpoenaed. In Reed, the court observed that in the request for the investigation

files a defendant had “not pointed to any substantial foundation for believing that investigative

reports would furnish defensive matter.” Reed, 726 F.2d at 577. Similarly, Defendant Springer

never clearly articulated how the subpoenaed materials would be relevant. Merely repeating

conclusory statements about “outrageous government conduct” does not establish relevance.

       The Government’s discovery practice has afforded Defendants access to more than thirty-

three thousand pages of evidence. For instance, Defendant Springer is in receipt of plea

agreements of potential witnesses, their tax returns and criminal history records, charging

documents, plea hearing transcripts, 5K1 motions, sentencing transcripts, Judgment of

Conviction orders, court transcripts, civil investigation files, etc. Exhibit B. The Government

has fully complied with its discovery obligations. From the outset the Government adopted an

open file discovery policy; Defendants are already in possession of substantial amount of Internal

Revenue Service internal documents. Hundreds of thousands of pages neatly organized for

Defendant’s convenience were disclosed by the Government timely and in good faith.

       The interests of the United States clearly prevail here. Hardy upheld the balancing of the

burden of producing records with any relevance these records might have to a case. 224 F.3d at

756. Compliance with the subpoenas would substantially burden the Government’s interests in

preserving the confidentiality of its investigative methodologies and law enforcement techniques.

Defendant Springer is trying to get hold of the internal Government memoranda - the precise

materials the Supreme Court in Bowman asked the courts to protect. 314 U.S. at 220. In

addition, the Government would have to allocate substantial resources in order to reproduce the

thousands of pages requested by Defendant Springer. Here, the interests of Defendant Springer


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 in the subpoenaed documents and communications are nonexistent, in part because Defendant

 Springer is already in possession of the materials relevant to his case.

        The inescapable conclusion is that Defendant Springer is not making a good-faith request

 for the documents; he is using the subpoena process to circumvent the discovery rules set forth in

 the Federal Rules of Criminal Procedure. Like the Ninth Circuit in George, this court must see

 Defendant Springer’s subpoenas for what they really are - “a wild goose chase.” United States v.

 George, 883 F.2d 140, 1418 (9th Cir. 1989). Defendant Springer attempts to make work for the

 Government and circumvent the rules of criminal procedure.

        Finally, all of what Defendant Springer seeks appears to be in violation of Title 18,

 United States Code Section 3500, which provides in relevant part:

        In any criminal prosecution brought by the United States, no statement or report in
        the possession of the United States which was made by a Government witness or
        prospective Government witness (other than the defendant) shall be the subject of
        subpoena, discovery, or inspection until said witness has testified on direct
        examination in the trial of the case.

        IV.     CONCLUSION

        In sum, neither the Internal Revenue Service nor the Department of Justice can authorize

 the testimony and the production of documents due to Defendant Springer’s failure to comply

 with the Touhy regulations, including providing adequate notice, defining the scope of the

 testimony, and meaningfully circumscribing the request for documents.

        Furthermore, Defendant Springer’s subpoena requests were not made in good faith. In

 addition, the Government has strong interests in preserving the confidentiality of its investigative

 methodologies and law enforcement techniques. Therefore the compliance with the subpoenas is

 oppressive and unreasonable under Rule 17(c).


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        Finally, since Defendant Springer has received all the documents he is entitled to under

 Rule 16, Brady, and Giglio, these subpoenas amount to nothing more than a blind fishing

 expedition, in direct contravention of Rule 17(c) and Rule 16(a)(2) of the Federal Rules of

 Criminal Procedure.

        Based on the foregoing, the subpoenas duces tecum must be quashed.

                                              Respectfully submitted,

                                              THOMAS SCOTT WOODWARD
                                              ACTING UNITED STATES ATTORNEY


                                               /s/ Charles A. O’Reilly
                                              CHARLES A. O’REILLY, CBA NO. 160980
                                              Special Assistant U.S. Attorney
                                              KENNETH P. SNOKE, OBA NO. 8437
                                              Assistant United States Attorney
                                              110 West Seventh Street, Suite 300
                                              Tulsa, Oklahoma 74119
                                              (918) 382-2700




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of June 2009, I electronically transmitted the
 foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
 Notice of Electronic Filing to the following ECF registrants:

        Lindsey Kent Springer
        Defendant

        Oscar Amos Stilley
        Defendant

        Robert Williams
        Standby Counsel assigned to Lindsey Kent Springer

        Charles Robert Burton, IV
        Standby Counsel assigned to Oscar Amos Stilley.



                                             /s/ Charles A. O’Reilly
                                             Trial Attorney, Dept. of Justice




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